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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MONTANA
                            MISSOULA DIVISION


FREEDOM FROM RELIGION                            )
FOUNDATION, INC.,                                )
a Wisconsin Non-Profit Corporation,              )
                                                 )
                          Plaintiff,             )
                                                 )
v.                                               )
                                                 ) Case No. CV 12-19-M-DLC
CHIP WEBER, Flathead National Forest             )
Supervisor,                                      )
                                                 )
and                                              )
                                                 )
UNITED STATES FOREST SERVICE,                    )
an Agency of the United States                   )
Department of Agriculture,                       )
                                                 )
                          Defendants,            )
                                                 )
and                                              )
                                                 )
WILLIAM GLIDDEN, RAYMOND                         )
LEOPOLD, NORMAN DEFOREST,                        )
EUGENE THOMAS, and the                           )
KNIGHTS OF COLUMBUS                              )
(Kalispelll Council No. 1328),                   )
                                                 )
                          Intervenor-Defendants. )


       PLAINTIFF’S CORRECTED STATEMENT OF DISPUTED FACTS



      1.     The Defendant, Chip Weber, is the forest supervisor for the Flathead

National Forest. (Docket No. 9, ¶10.)
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        2.    The Defendant, Chip Weber, is an employee of the United States Forest

Service, an agency of the United States Department of Agriculture. (Docket No. 9, ¶12.)

        3.    The United States Forest Service manages designated public lands of the

United States. (Docket No. 9, ¶15.)

        4.    The Flathead National Forest is managed by the United States Forest

Service, and consists of public lands of the United States. (Docket No. 9, ¶16.)

        5.    Big Mountain is located in the Flathead National Forest. (Docket No. 9,

¶17.)

        6.    The Knights of Columbus applied for a permit to erect a religious “Shrine

overlooking the Big Mountain ski run” in 1953. (Bolton Dec., Exh. 1.)

        7.    The Knights of Columbus application stated that the applicant “proposes to

erect a Statue of our Lord Jesus Christ” on land owned by the Forest Service. (Bolton

Dec., Exh. 1.)

        8.    The idea for a shrine at the top of a ski run reportedly originated with

requests from Catholic skiers for such a religious shrine, which the Knights of Columbus

then pushed forward to eventual dedication on Big Mountain, as reported in

contemporaneous sources in 1954. (Bolton Dec., Exh. 2.)

        9.    The Knights of Columbus is an exclusively Roman Catholic organization

for which “Church-related activities are essential to our [its] work as an organization of

Catholic laymen.” (Docket 14-1, ¶22.)

        10.   Membership in the Knights of Columbus is limited to practicing male

Catholics who “accept the teaching authority of the Catholic Church on matters of faith

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and morals, aspire to live in accord with the precepts of the Catholic Church, and are in

good standing in the Catholic Church.” (Docket 14-1, ¶23.)

      11.    The Knights of Columbus has placed religious shrines at locations

throughout the United States. (Docket 14-1, ¶24.)

      12.    The Forest Service granted the application of the Knights of Columbus on

October 15, 1953, “for the purpose of erecting a religious shrine overlooking the Big

Mountain ski run.” (Bolton Dec., Exh. 3.)

      13.    On February 3, 2000, the Forest Service authorized the Knights of

Columbus to continue to “Provide a site for religious shrine” on Big Mountain. (Bolton

Dec., Exh. 4.)

      14.    After objection on May 26, 2011, by the Freedom From Religion

Foundation to the Forest Service’s authorization of a religious shrine on public land, the

Defendant Chip Weber determined on August 24, 2011 that the placement of a statue of

Jesus Christ on Big Mountain was inappropriate under the United States Constitution and

must be removed. (Bolton Dec., Exh. 7.)

      15.    The denial decision noted that “the Knights of Columbus and Winter

Sports, Inc. (WSI) (owners and operators of the Whitefish Mountain Resort Ski Area)

contend that the Statue is a symbol of spiritual and religious significance for many

citizens.” (Bolton Dec., Exh. 7.)

      16.    The Forest Service decision also noted that a monument dedicated to the

United States Army’s 10th Mountain Division already exists on nearby private land, to

which the Jesus Statue presumably could be relocated. (Bolton Dec., Exh. 7.)

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      17.      The Defendant Weber’s decision concluded as follows:

      I have determined that renewing your permit would result in an
      inappropriate use of public land. The original stated purpose for the statue
      was to establish a shrine, an inherently religious object. Furthermore, the
      statue and its religious objective can be accommodated on an adjacent
      private land. Therefore, I will not renew the special use permit.

(Bolton Dec., Exh. 7.)

      18.      The Forest Service decision on August 24, 2011, relied on “Supreme Court

decisions and recent case law that set the precedent regarding monuments with religious

themes or icons with religious themes.” (Bolton Dec., Exh. 7.)

      19.      The Defendant Chip Weber decided that authorization of a religious shrine

conflicted with Supreme Court decisions and other decisions prohibiting such religious

displays on public land. (Bolton Dec., Exh. 7.)

      20.      The Defendant Weber concluded in his decision of August 24, 2011, that

the Shrine should be removed from public land no later than October 31, 2012. (Bolton

Dec., Exh. 7.)

      21.      The Defendant Weber immediately faced criticism from religious and

veterans interests, which opposed his decision, including intense lobbying by United

States Representative Denny Rehberg. (Bolton Dec., Exh. 12.)

      22.      The Defendant Weber then withdrew his earlier decision of August 24,

2011, and announced plans on October 21, 2011, by the Forest Service to formally assess

public comments for re-authorizing the religious shrine on Big Mountain. (Bolton Dec.,

Exh. 6.)



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       23.    In Defendant Chip Weber’s letter of October 21, 2011, withdrawing his

earlier decision, Mr. Weber referred to “new information” indicating that the Jesus Statue

might be eligible for listing on the National Historic Register. (Bolton Dec., Exh. 6.)

       24.    The Forest Service, however, actually first suggested the “new

information” to the Montana State Historic Preservation Office, in a letter dated

September 1, 2011, wherein the Forest Service requested that the Montana Historic

Preservation Office “concur” in a statement that the statue of Jesus was eligible for listing

on the National Register of Historic Places. (Bolton Dec., Exh. 9.)

       25.    The Forest Service letter of September 1, 2011, describes the religious

history of the Shrine at issue:

       The Statue was emplaced on Big Mountain and dedicated on September 5,
       1954, by the Knights of Columbus (“K of C”). The Knights chose to put a
       shrine in the area after being approached by Winter Sports, Inc. (“WSI”)
       and some participants in the 1949 and 1951 national ski championships,
       which took place at Big Mountain. Many of the skiers were veterans of the
       fighting in Europe in WW II, where they observed many such shrines and
       thought there should be one here as well. The Statue is located on FSS –
       administered lands under a special use permit first issued to the K of C in
       1953 for a spot of ground measuring 25 feet by 25 feet. According to the
       permit application, the Knights wished to “erect a shrine overlooking the
       Big Mountain ski run.” A committee was formed by L.J. Reed, to select a
       site and design a shrine and then have it erected. Other members of the
       committee were Frank Davis, Wayne Dirkson, Charles Smith, Ed Lyonais,
       Kenneth O’Brien, Bud Drew, Curtis Barnhardt, Fred Dennis, Charles
       Rogers, Tony Hecimobitch, and Father Cronin. The Knights first
       approached WSI about placing the Shrine within the Village, but after
       being turned down by WSI, they turned to the Forest Service for a permit to
       place the Shrine at the top of the ski runs. The final location was chosen
       because of the spectacular views over the valley below and for its proximity
       to the original main lift and run.

(Bolton Dec., Exh. 9.)


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       26.   The Forest Service letter to the Montana Historic Preservation Office

further acknowledged that religious properties are not eligible for listing on the National

Register of Historic Places if associated with important persons or events or religious

values: “The Statue of Jesus cannot be considered eligible for its association either with

the soldiers who fought in WW II, nor for its association with Jesus.” (Bolton Dec., Exh.

9.)

       27.   The Forest Service, therefore, asked the Montana Historic Preservation

Office to agree that the Jesus Statue has no association with Jesus or WW II veterans.

(Bolton Dec., Exh. 9.)

       28.   The Forest Service suggested instead that the Jesus Statue be characterized

as something other than a religious shrine or a war memorial. (Bolton Dec., Exh. 9.)

       29.   The Montana State Historic Preservation Office then “concurred” that the

Jesus shrine “Is not believed to be a religious site because unlike Lourdes or Fatima,

people do not go there to pray.” (Bolton Dec., Exh. 10.)

       30.   Advocates of the religious shrine responded to the Forest Service’s request

for public comment, with the American Center for Law and Justice, a conservative

Christian advocacy organization, submitting more than 70,000 names of supporters;

Representative Rehberg also submitted approximately 10,000 comments he solicited

through his “Veterans Jesus.com” website. (Docket No. 9, ¶43.)

       31.   The Defendant, Weber, however, also received comments opposing the

religious Shrine on public land, including from FFRF. (Docket No. 9, ¶44.)



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      32.    The Defendant Weber subsequently issued a new decision on January 31,

2012, which principally rejected non-existent environmental issues that no one had

raised. (Bolton Dec., Exh. 11.)

      33.    The Defendant Weber’s subsequent decision reauthorized the special use

permit to the Knights of Columbus to maintain “a statue of Jesus Christ located on

National forest land near the top of chair # 2 within the Whitefish Mountain resort permit

boundary.” (Bolton Dec., Exh. 11.)

      34.    The Defendant Weber did not discuss or explain in his new decision the

Supreme Court precedent prohibiting religious monuments on public land, which

decisions he previously relied on as a basis for non-renewal of the Jesus permit. (Bolton,

Dec., Exh. 11.)

      35.    An article in the Whitefish Pilot, dated September 10, 1954, provides a

contemporaneous description of the dedication of the Statue of Christ on Big Mountain.

The article begins by noting that “Sunday, September 5, 1954, at 2:30 p.m. on top of Big

Mountain at Whitefish, the Knights of Columbus dedicated a Shrine which they have just

completed.” (Bolton Dec., Exh. 2.)

      36.    The contemporaneous article describes access to the Shrine as follows:

      To get to the top of the Big Mountain one has two choices – they can hike
      up from the ski lodge, or they can take the chair lift to the top and follow
      the trail from there to the site.

(Bolton Dec., Exh. 2.)




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       37.   Recent supporters of the Big Mountain Shrine, however, have defended the

Statue as a war memorial, including Congressman Denny Rehberg. (Bolton Dec., Exh.

12.)

       38.   The Freedom From Religion Foundation then wrote to the Forest Service

on October 26, 2011, objecting to the decision by Defendant Weber to withdraw his

earlier decision not to renew the Forest Service permit for a religious shrine. FFRF

explained the First Amendment implications of allowing a patently religious monument

to remain on government property as a site for a religious shrine. FFRF further noted the

Forest Service’s own initial reasoning that “recent established case law is not in favor of

renewing a permit of this type.” (Bolton Dec., Exh. 16.)

       39.   FFRF again wrote to the Forest Service on November 22, 2011, disputing

the historic preservation claims being made. FFRF quoted Defendant Weber in his

original decision denying reauthorization of the Jesus Statue:       “The original stated

purpose of the statue was to establish a shrine, an inherently religious object.

Furthermore, the statue and its religious objective can be accommodated on adjacent

private land.” (Bolton Dec., Exh. 17.)

       40.   Finally, FFRF again wrote to the Forest Service on December 7, 2011,

providing contemporaneous evidence, from the September 10, 1954 published report, that

the Jesus Statue was intended as a religious monument. FFRF cited the article from the

September 10, 1954 Whitefish Pilot, which noted that leading skiers of the Catholic faith

asked why a shrine had not been placed on Big Mountain. In response, the Knights of



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Columbus selected the current location for the statue of Jesus after concluding that “that

our Lord himself selected this site.” (Bolton Dec., Exh. 18.)

      41.    FFRF received numerous contacts expressing objections to the Jesus Statue

on Big Mountain, including comments from veterans. (Bolton Dec., Exh. 20.)

      42.    John Garrity, a Vietnam veteran, wrote on December 7, 2011, as follows:

      As a Vietnam Veteran, and deeply Christian Church educated and involved
      person my whole life, I do NOT want to see a denominational statue of
      ONE Church (of many churches, ethical world views) in a PUBLIC
      place/space that belongs to ALL Americans. Unless we respect the most
      different and the least in numbers among us, we have no right to expect that
      we are a moral, ethical people living in a free country that equally respects
      the rights of all Americans, as our Declaration of Independence and
      Constitution suggests we are.

      The fact that FFRF has received so much deeply disturbing, threatening,
      violent, and vile mail directed against them for their mere request that a
      specific religion should NOT have a special right to their private use of
      public land [to the exclusion of all other religious or secular viewpoints and
      against precedent that we are a nation of laws and respect for the
      SEPARATION of Church and State], seems alone and by itself proof
      positive of WHY we so deeply need to continue to be vigilant against any
      specific religious viewpoint being given special privileges, unfortunately as
      has apparently already been done for 50 + years on Big Mtn.

      Now is the time to correct the prior error. The USFS is the agency needing
      to do the right thing on our behalf, no matter how difficult nor politically
      unpopular it is, no matter how much particular groups, churches, or
      congressmen or our congressman tries to force their particular sectarian or
      political view upon ALL of us as Americans where everyone should feel
      equally welcome, because our rights to separation of Church and State is
      recognized, valued and protected.

      As to the suggestion that the statue of Jesus on Big Mtn. is not a religious
      but rather ONLY a “Veterans” or “Military” monument, on the face of it
      this seems totally unsupportable by any logic or fact. No matter who or
      why it was first installed, nonetheless, Jesus is the “Christ” of the
      “Christians,” and only represents one of the many religious and secular
      viewpoints of the many diverse veterans who have served our country these
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       200 + years. It is admirable that the Roman Catholic Knights of Columbus
       want to honor our veterans, I among those Veterans. They have every right
       to do so, with any statue or any monument they wish to, just not a religious
       statue on public land that belongs to ALL Americans.

(Bolton Dec., Exh. 10.)

       43.    Forest Service employees met with the Knights of Columbus to discuss the

status of the special use permit for the Shrine on June 10, 2011. (Bolton Dec., Exh. 23.)

At this meeting, the Knights of Columbus expressed: their deep reverence for the Shrine

and what it stands for; their feeling that the Shrine’s current location is an integral part of

the spiritual experience; and their feeling that the statue is “a multi-denominational

religious statue” that “speaks to all religions.” (Bolton Dec., Exh. 23.)

       44.    One option discussed by the Forest Service at the June 10, 2011 meeting

with the Knights of Columbus was getting the statue declared a historical monument.

The Forest Service’s Heritage Specialist’s initial thinking was that the Statue did not have

“historical significance,” and that having the statue listed as a historical monument does

not mean it would not need to be moved off national forest system land in any event.

(Bolton Dec., Exh. 23.)

       45.    The Forest Service noted that “The Flathead has rejected proposals from

other groups to put monuments, grave markers, crosses, etc. on the Forest Service land

(for instance grave markers in the Jewel Basin Hiking Area, war memorial crosses near

the Desert Mountain Communication Site, memorial signs/plaques at various trailheads;




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spreading cremation ashes at the North Fork, air-dropping cremation ashes in the Bob

Marshall Wilderness, etc.).” (Bolton Dec., Exh. 23.)

      46.    The Shrine on Big Mountain is striking. (Bolton Dec., Exh. 19.)

      47.    The Forest Service actually has long been concerned about the Jesus Statue

on Big Mountain; in fact, Becky Smith noted on March 8, 2011, that “the first job I was

given here on the Flathead by Neil Malkasian was to have Jesus removed from the

Montana 24 years ago. At that time I interviewed the permittee, visited the site, and

talked to the administration of the resort. I went back and told Neil that removing Jesus

would cause a huge stir.” (Bolton Dec., Exh. 24.)

      48.    On April 18, 2011, Ms. Smith, Forest Recreation Program Leader of the

Flathead National Forest, stated that Margaret Gorski had encouraged the Forest Service

to call the Shrine a “heritage site” and “push the story behind the statue (10th Mountain

Division, etc.)”. (Bolton Dec., Exh. 25.)

      49.    Ms. Gorski herself advised that if the public asks for removal of the statue,

“Push the historic significance.” (Bolton Dec., Exh. 25.) Ms. Smith wrote, however, that

the Forest Service “would not entertain one of these permit requests today.” (Bolton

Dec., Exh. 25.)

      50.    Ms. Gorski offered Becky Smith the following advice on how to finesse

approval of the Shrine permit. On April 18, 2011, Ms. Gorski wrote:

      Play up the historic nature of the site. Perhaps Dan or the Knights would be
      willing to re-do the sign to be more interpretive and play up the historic


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      connection between the site and the 10th Mountain Division, which is tied to
      skiing after all.


(Bolton Dec., Exh. 25.)

      51.    Earlier, on February 22, 2011, another Forest Service employee, Hans M.

Castren, Acting Resource Assistant at Flathead National Forest, also discussed issues

relating to the “Jesus Statue on Big Mountain.” Castren rhetorically asked: “Do we

reissue the permit? Even though it is a religious monument on FS [Forest Service] land?”

Casten also asked: “Do we continue Free Use/Fee Waiver as done in the past, even

though this does not fit a category for fee waiver?” (Bolton Dec., Exh. 27.)

      52.    Finally, Castren noted that “The media attention that the Missoulian and

Beacon brings to this matter is not helpful.” (Bolton Dec., Exh. 27.)

      53.    The Forest Service’s political sensitivity to the Shrine is not anything new,

as Becky Smith previously noted. Back on May 25, 1990, when the statue was also re-

authorized, Ms. Smith wrote as follows: “First and foremost, requiring the removal of

the statue may cause public relations problems which we do not need at this time.”

(Bolton Dec., Exh. 28.)

      54.    Ms. Smith’s boss, Neil Malkasian, responded on June 8, 1990, as follows:

“Unless one of us needs to establish some ‘notoriety’ (Whitefish Pilot: Headlines – New

Tally Lake Forester Kicks Jesus Off Big Mountain”), then we should probably follow the

path and reissue a permit with appropriate clauses as dictated by the type of permit.”

(Bolton Dec., Exh. 28.)

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       55.    The Forest Service was well aware before the pending litigation of concern

about authorizing the Jesus Statue on Forest Service property. In a summary memo dated

October 18, 2011, the Forest Service noted the following:

       During at least the last two permit renewals there has been concern that
       reauthorization of this religious shrine may be a violation of the U.S. Constitution,
       established case law, and Forest Service policy. (Forest Service handbook policy
       directs managers to not approve permits for activities or uses that could otherwise
       occur on other than public lands). (Bolton Dec., Exh. 30.)


       56.    On August 24, 2011, Weber denied reauthorization for the Jesus permit,

which resulted in the “notoriety” predicted 21 years earlier, and so by September 1, 2011,

a week later, the Flathead National Forest Archeologist determined that the Shrine was

eligible for listing on the National Register of Historic Sites, and requested concurrence

by the Montana Historical Society, State Historic Preservation Office. (Bolton Dec.,

Exh. 7.)

       57.    Having changed course, the Forest Service then plotted how to manipulate

public perception of the Shrine. Carl Davis, from the Forest Service Regional Office,

made some recommendations in a summary dated November 7, 2011, including the need

to “focus on historical values rather than religious ones.” (Bolton Dec., Exh. 31.)

       58.    Davis also emphasized the need to “be clear about the historical value and

National Register of Historic Places – eligibility of the statue in scoping letters and news

releases since this is the central issue in permit reissuance; it is in the media; and it may

help inform public response during scoping and beyond.” (Bolton Dec., Exh. 31.)


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       59.    Davis also highlighted the need to claim that the statue’s “primary

historical value is its association with the early development of the Big Mountain ski

area, now Whitefish Mountain Resort.” (Bolton Dec., Exh. 31.)

       60.    Davis then urged Forest Service personnel to keep in perspective that

National Register eligibility “largely turns on the statue’s association with early ski hill

development, and in a secular (people go there to play) rather than a religious context

(people go there to pray).” (Bolton Dec., Exh. 31.)

       61.    Finally, Davis candidly recognized that the “10th Mountain Division’s

association with the statue/shrine at Whitefish Mountain (formerly Big Mountain) ski

area is hard to pin-point and substantiate with existing historical data.” (Bolton Dec.,

Exh. 31.) “The statue’s WW II Veteran Association with the 10th Mountain Division is

anecdotal and ambiguous.” (Bolton Dec., Exh. 31.)

       62.    The Forest Service also considered measures to procedurally insulate its

decision from appeal so that “only the permittee (Knights of Columbus) would be eligible

to appeal.” (Bolton Dec., Exh. 32.)

       63.    According to the Defendants' recently commissioned-investigation,

contemporaneous reports confirm that the intent was “to erect a statue of our Lord Jesus

Christ,” for the purpose of “erecting a religious shrine overlooking the Big Mountain ski

run.” (Docket No. 63-1 at 5.)

       64.    According to the Defendants’ oral historian, Ian Smith (“Smith”), the statue

has subsequently been reported to be associated with WW II veterans, culminating in a

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recent plaque purporting to describe the history of the statue, including the claim that “a

common memory of theirs [troops] in Italy and along the French and Swiss border was of

the many religious shrines and statues in the mountain communities.” (Docket No. 63-

1at 9.) The plaque concludes by thanking “Those brave troops that brought this special

shrine of Christ to the Big Mountain and hope that you enjoy and respect it.” (Docket

No. 63-1 at 9.)

       65.    Smith also describes the location of the Shrine as originally being in a

remote, pristine area removed from other structures and activities. (Docket No. 63-1 at

9.)

       66.    Smith also concluded that he “did not locate any sources contemporaneous

with the Statue’s 1954 dedication that showed a direct association between it and WW II

Veterans who had returned to Whitefish less than a decade earlier.” (Docket No. 63-1 at

11.) Smith concluded that “the historical records do not directly link the statue and these

WW II Veterans.” (Docket No. 63-1at 12.)

       67.    Smith’s report documents considerable actual usage of the site of the Statue

for religious services or gatherings. (Docket No. 63-1 at 15-17.) Smith states that

“historical documents do not indicate any consistent uses of the Jesus Statue over time,

but oral interviews conducted by HRA do indicate that church services and prayer

gatherings have occurred periodically at the site.” (Docket No. 63-1 at 15.)

       68.    Smith interviewed 13 individuals as part of his research, including three

pastors, from different Christian traditions, who each commented that “From a personal

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standpoint, the Jesus Statue was ‘comforting’ to them, since it reminded them of Christ’s

presence in the world.” (Docket No. 63-1 at 17.)

      69.    After first noting the remoteness of the statue, moreover, Smith goes on to

describe the status as a “well-known landmark and meeting place for skiers on the

mountain.” (Docket No. 63-1 at 18.) Smith concludes by describing the Shrine as a

“Well-known local landmark at Big Mountain.” (Docket No. 63-1 at 19.)

      70.    Smith admits that the Shrine is “something that has set Big Mountain apart

from other ski resorts.”   According to Mike Collins [interviewee], “the statue was

something ‘that made Big Mountain sort of stand out.’ ” (Docket No. 63-1 at 24.)

Another interviewee described the Shrine as providing a “unique historical thing” that

distinguishes Big Mountain. (Docket No. 63-1 at 24.)

      71.    Smith also considers it “worth reiterating” that the area of the Shrine is a

summer and winter tourist destination “visited by thousands of people each year.”

(Docket No. 63-1 at 25.)    In fact, Smith notes that the statue is located at a place of

unique and great beauty in the Flathead Valley. (Docket No. 63-1 at 26.)

      72.    Smith’s report includes the transcripts from 13 interviews of local residents.

(Docket No. 63-1 at 41-117.) Jean Arthur, one source who wrote a book on the local

history of Big Mountain, noted that the statue is visible by skiing past it and “very

popular with skiers and families, and, of course, with big weddings over the years.”

(Docket No. 63-1 at 42.) Ms. Arthur also notes that her own family “would pass by the

Jesus Statue and say ‘hi’ to Jesus and maybe stop for a second.” (Docket No. 63-1 at 43.)

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As to church services being held at the statue, Ms. Arthur commented “Oh yeah, yeah,

definitely.” (Docket No. 63-1 at 43.)

       73.    Brad Brittsan, a Whitefish pastor, commented that “as a believer in Christ, I

look at it [Shrine] as something that is comforting.” (Docket No. 63-1 at 45.) Brittsan

also commented that skiers “would stop on the way down the mountain and stop for a

second and, at the base of the statue, and then finish skiing down the mountain.” (Docket

No. 63-1 at 45.) Brittsan concludes that “Well, you know, I guess, when I look at the

statue, and you know, it’s at a great place where there is a great view of the Valley, and it

reminds me of God watching over us.” (Docket No. 63-1 at 46.)

       74.    Mike Collins, who has lived in Whitefish since 1988, noted that the Jesus

Statue “was a well-established attraction up on the mountain when he arrived in 1988.”

(Docket No. 63-1 at 47.) Collins acknowledged use of the Shrine in the winter months by

religious groups. Collins also commented on what a “well-known feature up on the

mountain” the statue was; “lots of skiers would go by it and a lot of them would take

pictures of themselves with their family and friends, you know, with the statue in the

background. So it was a pretty popular stop.” (Docket No. 63-1 at 48.)

       75.    Linda Fopp, by contrast, claimed that the statue was erected out of the area

of main recreational usage. (Docket No. 63-1 at 52.)

       76.    Ms. Fopp also noted, however, that critics of the statue were admonished to

“Don’t look at it [the statue],” if bothered. (Docket No. 63-1 at 55.)



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      77.    Ms. Fopp stated that the Shrine, in her opinion, has an effect on people that

goes beyond just the beauty of the scenery. She notes that skiers say “You know when

you stop there, there is something else that moves them.” (Docket No. 63-1 at 55.) Ms.

Fopp also describes the meaning of the Jesus Statue to her personally:

      It’s just a reminder that he is constantly watching over us and protecting us
      in his, in one of his own ways that we have no control over. There is – you
      can have a statue in your house, you can understand that much easier, but
      many people don’t have any kind of a statue in their house that – and it is,
      they, as I said, many of the skiers, they said, “You know,” they – “I stopped
      by that statue today.” They said, “And you know, I really felt.” And we
      say, “Yeah. We know.” We’re just smiling. “Yeah. We know. Happy
      you did.” But it’s something that needs to be – we believe, I believe, that
      needs to be shared more. If only people knew how to accept it.” (Docket
      No. 63-1 at 55.)

      78.    Dan Graves, another interviewee, came to Whitefish in the Fall of 2006,

and observed the Shrine when he took one of his first skiing trips on the mountain.

“I was coming down the mountain, skiing toward my office, and out of the corner of my

eye – in the clouds, because it was a cloudy day – I saw something that looked like

somebody standing off to the side, so I stopped, and, lo and behold, I saw this statue.

And I thought, ‘Wow.’ That is really kind of unusual. I have not seen very many of

these around the country. I have seen several of them in Italy because I’ve traveled to

Italy a few times.” (Docket No. 63-1 at 59.)

      79.    According to Graves, about 30% of the skiing business on Big Mountain is

local Valley residents who “come by [the Shrine] and reflect for, you know, lack of a

better word.” (Docket No. 63-1 at 60.)


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       80.    Graves put up a plaque purporting to describe the history of the Shrine as

he understood it, but he notes that “You know, when we put up the plaque, you know, in

hindsight, I should’ve, you know, asked the Forest Service if it was okay, but I never

even thought about it.” (Docket No. 63-1 at 64.)

       81.    Graves recognizes the uniqueness of the Jesus Statue, insisting that he had

never seen anything like this at other ski areas. He described the Shrine as a monument

unlike any memorial he had seen:

       I’ve seen, you know, monuments if you will – which I consider this, it’s a
       monument – at other resorts that, you know, talked about maybe the 10th
       Mountain Division. You know that is very common because so many
       resorts were, were founded by 10th Mountain Vets, just like this one.

       You know sometimes, it’s just a plain concrete plinth with a plaque on it.
       Other times it’s, you know, it may be a, just a statue of, you know, a
       person that was in the 10th Mountain that, you know, was instrumental in
       that particular resort. I know there is a monument on top of Mammoth
       Mountain in California, you know, that’s – which is on Forest Service land
       – and it’s a monument which has two crossed skis and its for a patroller
       that died in an avalanche decades ago. So I mean there’s, you know,
       there’s a few of them around, but it’s not a lot of them.” (Docket No. 63-1
       at 65.)

       82.    In the end, Graves recognized that the religious character of the Shrine is

what distinguishes it:

       If this statue on our mountain had been anything other than Christ, it’d be a
       non-event. It would be a non-event. And so I think, just that fact alone,
       that if it had been anything else, it never would have gotten to the point of
       where it’s at. But because it is a statue of Christ, you know, a small group
       of people are using this as a forum to express their viewpoint on religion,
       and I think that is where, you know, the whole essence of why it is there,
       you know, is not even really valued, if you will. It’s a veterans’ memorial,
       and these vets just happen to use the statue of Christ as their symbol of
       what they wanted to ex- of how they wanted to express their gratitude and

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      thanks. But, if it had been, you know, a statue of a 10th Mountain person
      carrying a rifle, it would have been a non-event today. So just, you know,
      by that fact alone, you know, it just feels like a very – it just feels very
      peculiar. Very peculiar.

(Docket No. 63-1 at 66.)

      83.     Martin Hale, another interviewee, noted that “people stop there [at the

Shrine] all the time, and they want to know, you know, the history of it, and it was really

quite popular on that particular chair lift.” (Docket No. 63-1 at 68.) Hale further noted

that he wasn’t sure what everyone was thinking about, “but they sure-it [the Shrine] sure

caught their attention.” (Docket No. 63-1 at 68.)

      84.     Hale was also struck by the quiet contemplation of those who looked upon

the Shrine:

      We’ll, like I mentioned, sometimes people, when we would take classes out
      there and they would stop they always wanted pictures. But some of them
      as they silently, you know, in their minds I don’t know what they were
      saying but they weren’t talking a lot. They were quite, you know – I don’t
      know what they were saying always, but they, lots of thinking. And, and
      not – it was, it was kind of really eye-catching, and it meant a lot to some
      people and I don’t know what all it, you know, I meant to some of them
      because they didn’t say it, what they were always thinking. (Docket No.
      63-1 at 69.)

      85.     Mike Jensen, who has lived in Whitefish most of his life, further surmised

about the purpose of the Shrine, although his comments were not “meant to be gossip

truth.” In any event, Jensen understood that “returning soldiers came back from Europe

after the war, and they lamented the fact they did not have any iconic images around the

mountains, and they found these when they were in Europe. They like them.” (Docket

No. 63-1 at 72-73.)
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       86.    Although Jensen doubted whether most people knew much about the

history of the Jesus statue, he admitted that “he and others would tip their hat to the Jesus

statue when they went by on Sunday.” (Docket No. 63-1 at 74.)

       87.    Smith also interviewed Mike Muldown, another long time resident of

Whitefish, since 1945. (Docket No. 63-1 at 77.) Muldown doesn’t recall the statue ever

being called a “memorial for the troops or anything. But I do recall the fact that they did

mention that the World War II Veterans had come back from Europe and that was one of

the reasons that they advocated the shrine on the mountain.” (Docket No. 63-1 at 78.)

Muldown reiterated that “I do not recall it ever being specifically any kind of a memorial

to the troops, that it was just inspired by the people that were members of the Knights of

Columbus that had been Veterans.” (Docket No. 63-1 at 78.)

       88.    Muldown personally enjoys seeing the Jesus statue. He stated that “I guess,

to me, it’s like, it’s a -religious icon – that’s kind of a private thing.” (Docket No. 63-1 at

78.)

       89.    Paul Ogle commented on the irritation caused by persons who object to the

Jesus statue. “My understanding is everybody is – enjoys it being there and is irritated

that some people from outside the state want to come and tell us whether we can or

cannot do something locally here that the majority of the people seem to have no problem

with, no issue with.” (Docket No. 63-1 at 83.) He went on to describe his majoritarian

view of the statue:



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      I think people viewed it just as an interesting icon that had some historical
      significance. Most people that I’m aware of don’t have any antipathy to
      religious symbols in general. Whether it’s crosses or statues, it doesn’t –
      most people are totally comfortable and accepting of those who want to put
      those up and get permission to do it. And I think my feeling is most people
      get irritated by those who try to enforce prohibitions against religious
      representations – statues and things. They seem to be a vocal, tiny minority
      who seem to want to impose their will on the majority of people who don’t
      have a problem with it. (Docket No. 63-1 at 83.)

      90.    For Mr. Ogle, the statue definitely has religious significance:

      I personally just kind of enjoyed the fact that – I mean, it’s a bit like the
      Jesus statue in Rio and Brazil or something. It’s just a reminder to me that
      Jesus is a very real presence in our world and I am, I guess I find some
      comfort in that, whether the statue is there or not. It – I’m aware that Jesus
      is very present and active in our world, and to me, it’s just a reminder of
      that. It doesn’t have any religious significance beyond that.

(Docket No. 63-1 at 83.)

      91.    Ogle admits that he has been part of groups that have gone up to the statue

“to gather to pray over our community and pray for God’s protection and blessing on our

community.” (Docket No. 63-1 at 84.)

      92.    Karl Schenck also spoke to Smith’s assistant about the Shrine built shortly

after Schenck’s birth in Whitefish in 1953. (Docket No. 63-1 at 86.) Schenck claims that

the statue was built at a remote, but very beautiful part of the Mountain where people

would go to view the Valley. (Docket No. 63-1 at 87.)

      93.    In Schenck’s case, the statue has always been on the mountain and he has

respect for it and even talks to it. (Docket No. 63-1 at 88.) To Schenck, he “grew up

Catholic, and it was just kind of amazing that there was something that big and beautiful

sitting out there on top of the mountain.” (Docket No. 63-1 at 88.)
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       94.    Jane Solberg, another interviewee, also cited hostility toward critics of the

Shrine who were perceived as outsiders. “What in the heck is some group from not in

Montana butting into business in Montana? If there is a real problem with the Jesus

statue, it would’ve been handled locally.” (Docket No. 63-1 at 97.)

       95.    Jeff Tepples, who has lived in the Whitefish area since 1973, voiced a

common perception of the Jesus statue as having Christian meaning:

       I think it was probably around 6th grade that I, someone pointed out to me
       that there was a statue of Jesus on the top of Chair Two. And, at that time,
       I thought, “that’s really cool that there is a” – that, you know, that someone
       thought ahead to say, “let’s say that this place is a special place.” And it
       really is to me. Big Mountain is a special place in that it’s tied into our love
       of creation and that there is a creator. And so it didn’t offend me at all. I
       thought it was actually awesome to have Jesus up there and so we would
       often ski by there and wave at Jesus on our way by because we were
       Christians and it was really meaningful to have that statue there. (Docket
       No. 63-1 at 105.)

       96.    Mr. Tepples also noted that “I think the people – if you’re a Christian, I

think they’re really are happy about it, fond of it.” (Docket No. 63-1 at 106.)


       97.    For Mr. Tepples, personally, the Shrine reminds him “that God is involved

in everything I [he] do and the reason that I [he] think, you know, Jesus could be there is

that he is the savior of the world. And it’s not trying to, you know, hammer anyone over

the head with religion. I just think it’s an invitation to consider him. So, for me

personally, as a pastor, but as a Christian more, just a reminder that God is in my midst.”

(Docket No. 63-1 at 107.)




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      98.    Tom Unger was the last person interviewed for Ian Smith’s report and he

noted that he saw the Shrine the very first time he ever skied on the mountain in 1955.

(Docket No. 63-1 at 110.) “All the locals who happen to ski on those particular runs – or

on the main run of that lift – would ski by that statue. I mean, so they had to be well

aware of the statue.” (Docket No. 63-1 at 112.)

      99.    Ian Smith did not interview any tourists or persons who saw the Shrine

from the perspective of a tourist coming to the Whitefish area. (Bolton Dec., Exh. 22;

Smith Dep. at 10.)

      100.   Smith has personally skied by the Jesus Statue, which he recognizes as

depicting Jesus. (Bolton Dec., Exh. 22; Smith Dep. at 12.)

      101.   Smith has not seen similar Shrines at other areas that he has skied. (Bolton

Dec., Exh. 22; Smith Dep. at 12).

      102.   Smith did not perceive the statue of Jesus as a joke when he encountered it.

(Bolton Dec., Exh. 22; Smith Dep. at 13).

      103.   Smith’s archival research did not identify any intention for the statue other

than as a religious shrine. (Bolton Dec., Exh. 22; Smith Dep. at 16-17).

      104.   Smith’s research also did not uncover any evidence that the statue was not

intended to represent Jesus Christ. (Bolton Dec., Exh. 22; Smith Dep. at 19).

      105.   Nor did Smith discover any contemporaneous sources suggesting that the

Shrine was intended by the Knights of Columbus as a war memorial. (Bolton Dec., Exh.

22; Smith Dep. at 19).

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       106.   Smith did not investigate whether the Shrine, if a war memorial, would be

inconsistent with also being a religious shrine. (Bolton Dec., Exh. 22; Smith Dep. at 20-

21).

       107.   Smith is aware of some suggestion that Shrine seen in Europe during

WW II were religious. (Bolton Dec., Exh. 22; Smith Dep. at 22-23).

       108.   Smith claims he does not know whether the Knights of Columbus contend

at this time that the Jesus Statue was intended as a war memorial. (Bolton Dec., Exh. 22;

Smith Dep. at 25).

       109.   Smith understands that the Knights of Columbus is a Catholic organization.

(Bolton Dec., Exh. 22; Smith Dep. at 26).

       110.   Smith did not discover any information indicating that the Knights of

Columbus have ever intended the statue as other than a representation of Jesus Christ.

(Bolton Dec., Exh. 22; Smith Dep. at 27-28).

       111.   Smith does not know whether the Shrine is viewed differently by local

residents than tourists. (Bolton Dec., Exh. 22; Smith Dep. at 28).

       112.   Smith did discover evidence that the site of the Shrine has been used for

religious ceremonies from time-to-time. (Bolton Dec., Exh. 22; Smith Dep. at 30).

       113.   Smith does not know whether skiers view the statue as representing Jesus

Christ, but he admits that the statue does recognizably depict Jesus. (Bolton Dec., Exh.

22; Smith Dep. at 33).



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       114.    Smith acknowledges that the personal perceptions of the interviewees

represent the most direct evidence of perceptions of the Shrine, but he did not do any

analysis of their perceptions. (Bolton Dec., Exh. 22; Smith Dep. at 40).

       115.    In fact, Smith did not reach any conclusions about the perceptions by the

interviewees themselves as to whether they perceived the Shrine as having religious

significance. (Bolton Dec., Exh. 22; Smith Dep. at 41).

       116. According to Smith, he did not investigate whether the Shrine had

personal religious significance to the interviewees.      (Bolton Dec., Exh. 22; Smith

Dep. at 41-42).

       117.    Smith also did not investigate whether the statue is intended as a parody.

(Bolton Dec., Exh. 22; Smith Dep. at 44).

       118.    Smith further did not investigate the question of whether or not

“playfulness and irreverence” represented typical behavior in regard to statues, landmarks

and public landmarks. (Bolton Dec., Exh. 22; Smith Dep. at 45).

       119.    Smith claims he does not know whether speaking out against the statue is a

popular or unpopular local position to take; he also does not know whether speaking out

against religion is a popular or unpopular local position. (Bolton Dec., Exh. 22; Smith

Dep. at 48).

       120.    Smith does not have an opinion as to whether a pervasive culture of

hostility against people opposed to the Shrine would discourage complaints about it.

(Bolton Dec., Exh. 22; Smith Dep. at 48-49).

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          121.   Smith did not investigate whether there is any local hostility toward people

who oppose the Shrine. (Bolton Dec., Exh. 22; Smith Dep. at 50).

          122.   Smith also does not know the extent of irreverence and playfulness, nor did

he investigate why some people engage in irreverent behavior with regard to the Shrine.

(Bolton Dec., Exh. 22; Smith Dep. at 51-52).

          123.   Smith also did not investigate whether persons who had personal exposure

to the Shrine perceived it as a religious symbol. (Bolton Dec., Exh. 22; Smith Dep. at 52-

53).

          124.   Smith did not interview anybody who engaged in playful or irreverent

behavior, nor does he know whether they perceive the Shrine as inappropriate or

incongruous in its location. (Bolton Dec., Exh. 22; Smith Dep. at 53).

          125.   Smith acknowledges that religious sites and commemorative markers

typically are not eligible for the National Register. (Bolton Dec., Exh. 22; Smith Dep.

at 56).

          126.   Smith acknowledges that something can both convey a religious impression

and have regional historical significance. (Bolton Dec., Exh. 22; Smith Dep. at 57).

          127.   Smith says he does not know whether WW II Veterans perceive the Shrine

as evoking their religious faith and the inspiration gotten from religious symbolism in

Europe. (Bolton Dec., Exh. 22; Smith Dep. at 61).

          128.   Smith admits that the Shrine does not make any reference to the local 10th

Mountain Division from Montana. (Bolton Dec., Exh. 22; Smith Dep. at 68).

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       129.     Smith does not know whether persons who object to the Shrine are a

discouraged minority. (Bolton Dec., Exh. 22; Smith Dep. at 72).

       130.     Smith admits that some of the interviewees ascribe religious significance to

the Shrine. (Bolton Dec., Exh. 22; Smith Dep. at 73-74).

       131.     Smith does not have any opinion as to why religious ceremonies are

sometimes held at the Shrine site. (Bolton Dec., Exh. 22; Smith Dep. at 76).

       132.     Smith acknowledges that persons aware of the Shrine would view it as

depicting Jesus. (Bolton Dec., Exh. 22; Smith Dep. at 77).

       133.     William Cox decided to become a member of FFRF because of the

maneuvers regarding the Shrine by the Forest Service. (Bolton Dec., Exh. 21; Cox Dep.

at 6-7).

       134.     Cox has long been personally opposed to the Shrine but he did not know

anything could be legally done. (Bolton Dec., Exh. 21; Cox Dep. at 9).

       135.     FFRF did not offer any incentive to Cox to support this lawsuit. (Bolton

Dec., Exh. 21; Cox Dep. at 11-12).

       136.     According to Cox, the recent story by the Knights of Columbus that the

Shrine was erected as a war memorial “was news to just about everybody around here.”

(Bolton Dec., Exh. 21; Cox Dep. at 14).

       137.     Cox personally very much favors this lawsuit. (Bolton Dec., Exh. 21; Cox

Dep. at 27).



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      138.   Cox has a Ph.D. in economics from Princeton; he previously was a senior

specialist in economic policy at the Congressional Research Service; and he was a deputy

chief economist in the Department of Commerce during the Carter administration.

(Bolton Dec., Exh. 21; Cox Dep. at 31-33).

      139.   Cox and his wife ski at Big Mountain 25-30 times every year. (Bolton

Dec., Exh. 21; Cox Dep. at 38).

      140.   Cox is vigorously opposed to having the Statue of Jesus Christ on public

land which he considers totally inappropriate; he also recognizes the statue as

unmistakably a religious monument located on federal property. (Bolton Dec., Exh. 21;

Cox Dep. at 45).

      141.   Cox is not opposed to all religious symbols on public property, depending

upon the contextual appropriateness. (Bolton Dec., Exh. 21; Cox Dep. at 46-47).

      142.   Cox, for example, recognizes that religious themes can have artistic value,

such as with respect to art and cathedrals. (Bolton Dec., Exh. 21; Cox Dep. at 48-49).

      143.   For that reason, Cox recognizes that religious-themed art might be

appropriate at the Smithsonian. (Bolton Dec., Exh. 21; Cox Dep. at 49).

      144.   Cox considers that religious art may be publicly suitable in context, such as

at a museum. (Bolton Dec., Exh. 21; Cox Dep. at 50-51).

      145.   On the other hand, a Christian monument located on the National Mall

would not be appropriate, according to Cox. (Bolton Dec., Exh. 21; Cox Dep. at 50).



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          146.   Cox’s wife is Jewish and she is very apprehensive about overtly Christian

expressions, especially in public contexts. (Bolton Dec., Exh. 21; Cox Dep. at 52-53).

          147.   Cox acknowledges he is not a lawyer, but he believes that leasing property

to a religious organization violates the Constitution. (Bolton Dec., Exh. 21; Cox Dep.

at 57).

          148.   Cox does not have a legal opinion as to whether or not it is unfair or

discriminatory for the Forest Service to allow public property to be used for religious

purposes. (Bolton Dec., Exh. 21; Cox Dep. at 59).

          149.   Cox believes that the statue of Jesus is be an inappropriate war memorial

because it does not say anything about the sadness of war; “It’s just a statue of Christ

with his arms outstretched.” (Bolton Dec., Exh. 21; Cox Dep. at 61).

          150.   Cox believes that some persons support the statue on Big Mountain out of

religious conviction. (Bolton Dec., Exh. 21; Cox Dep. at 65).

          151.   Cox emphasizes that context affects his objection to religious symbols on

public land. (Bolton Dec., Exh. 21; Cox Dep. at 67-68).

          152.   Shortly after the U.S. Forest Service denied the lease renewal for the land

beneath the Shrine on Big Mountain, according to Mr. Cox, proponents of the Shrine

declared that it was a war memorial erected in recognition of the deeds of American

servicemen during World War II. (Cox Dec., ¶3.)

          153.   Prior to the war memorial explanation that suddenly materialized, Mr. Cox

had never heard or otherwise known that the Shrine was anything other than an absurd

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likeness of Jesus in a Roman Catholic style. He knew of no indication that the statue had

originated as a war memorial. (Cox Dec., ¶4.)

       154.   Mr. Cox considers the statue to be utterly inappropriate as a public war

memorial. It is an unambiguously Christian religion monument with nothing about it to

remind one of the heroism or the heartache of war, according to Mr. Cox. (Cox Dec.,

¶5.)

       155.   As a rationalist and non-believer, Mr. Cox considers the statue of Jesus on

public land to be ridiculous and offensive.       He sees it as a religious monument,

conspicuously Roman Catholic in style, that belongs in the courtyard of a monastery or

on the roof of a church. (Cox Dec., ¶6.)

       156.   As a regular skier, however, Mr. Cox has frequent and unwanted contact

and exposure to the Shrine when he is skiing on Big Mountain many times each winter,

which he finds to be offensive. (Cox Dec., ¶7.)

       157.   Doug Bonham lives in Essex, Montana, approximately 60 miles from Big

Mountain. He is a member of the Freedom From Religion Foundation and he appreciates

of the Foundation’s challenge to the Jesus statue prominently located on Big Mountain.

He agreed to join as a member of FFRF and to be identified with this lawsuit, although he

knows it is not a popular local position. He is a religious non-believer. (Bonham Dec.,

¶1.)

       158.   Approximately 7 or 8 years ago, Mr. Bonham first encountered the Jesus

statue on Big Mountain while skiing, and his immediate reaction was that the statue was

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grossly out of place and an oppressive reminder that Christians are a controlling and

favored group in the Flathead Valley. He has not skied or hiked by the statue since, and

his aging knees limit him, in any event. Nonetheless, his 15 year old daughter regularly

skis on Big Mountain and has exposure to the Jesus Statue, which she also considers

ridiculously out of place. (Bonham Dec., ¶2.)

       159.   As a resident of Flathead Valley, Mr. Bonham is still affected by the statue

on Big Mountain, which literally and figuratively looms over the Valley. He knows from

residing in the Flathead Valley that this is Christian country, and he knows from personal

experience with local residents that the statue is perceived as a religious symbol – in fact,

the statue is proudly perceived as a reminder of the Christian religious values that the

majority in the Valley promote. (Bonham Dec., ¶3.)

       160.   The presence of the Shrine on Big Mountain is known to skiers and non-

skiers alike in the Valley, and it is perceived as a recognized symbol of the religious

majority, according to Mr. Bonham. (Bonham Dec., ¶4.)

       161.   Mr. Bonham knows that disagreement with or disapproval of the statue of

Christ is not a popular or prudent local position, and objection to the statue is

discouraged. (Bonham Dec., ¶5.)

       162.   The Shrine has an influence throughout the Valley that has the effect of

making non-believers, like Mr. Bonham, feel marginalized in the own local community.

(Bonham Dec., ¶6.)



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       163.   Pamela Morris is a third generation Montanan who knows and values the

State’s natural heritage. For over 60 years, she has skied, camped, hiked and fished in the

mountains of Montana. (Morris Dec., ¶1.)

       164.   Ms. Morris is a member of the Freedom From Religion Foundation, which

she joined after learning of their opposition to the religious icon located on public land on

Big Mountain. (Morris Dec., ¶2.)

       165.   Ms. Morris contacted the Freedom From Religion Foundation on

January 28, 2012, when she heard that they were intending to file a lawsuit objecting to

the Big Mountain Shrine. (Morris Dec., ¶3.)

       166.   Ms. Morris communicated her willingness to join in a lawsuit and

subsequently agreed to join as a member shortly before the present lawsuit was filed.

(Morris Dec., ¶4.)

       167.   On November 14, 2011, Ms. Morris previously had sent a message to the

Forest Service strongly protesting allowing a religious icon on federal lands. Her letter to

the Forest Service stated as follows:

              Remove this public religious display from public lands, and
              confirm the practice that public lands are not to be used to
              promote any particular ideology. No trade of lands, either, as
              this is a public view that all deserve to enjoy in its natural
              state. Such a display is pollution, as it is both artificial not
              environmentally beneficial. No revenue is forthcoming from
              this to off-set the cost of use. Permitting this statue is
              partisanship. Selling or trading public lands to any religious
              entity violates separation of church and state. This Catholic
              statue is a poor precedent: once allowed to continue, other


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              special interest groups can use this gesture also to use public
              lands to display their own individual totems.

(Morris Dec., ¶5.)

       168.   The Jesus Statue on Big Mountain reminds Ms. Morris of her first

encounter with it during Christmas break in 1957, as a member of the Great Falls,

Montana, ski team in her first major winter outing in the mountains, skiing Big Mountain.

Ms. Morris felt the natural, grand, glorious (yes, spiritual) beauty. But to her, the statue

felt startlingly out of place: intrusive.   She was 15, active in the Methodist Youth

Fellowship; still, she remembers the unsettled feeling she first had when she saw it.

Since then she has avoided the area: she back-packs, fishes and camps where nature has

not been so violated in Montana. (Morris Dec., ¶6.)

       169.   Ms. Morris grew up appreciating the outdoors and has continued to recreate

regularly, skiing as recently as just last February. (Morris Dec., ¶7.)

       170.   Ms Morris has skied many areas in Montana throughout her life, but she

would definitely enjoy skiing Big Mountain again if it were a welcome site for all who

love nature. The Jesus Statue, however, is an intrusive icon, and therefore, she does

avoid Big Mountain. (Morris Dec., ¶8.)

       171.   Recreation is still a valuable part of Montana. People are drawn here

because of its natural beauty. Ms. Morris hopes to protect our public lands from the

intrusion of partisan artificial icons: To protect the interests of all citizens, especially

those who love Montana. (Morris Dec., ¶9.)


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        172.   Ms. Morris taught English and mythology (comparative religion) for

30 years in Billings, Montana. She is committed to preserving First Amendment rights

and she considers the imposition of one sect’s values on the rest of the citizenry to violate

the First Amendment. Ms. Morris would support any religious group’s efforts to build on

private land, including a mosque in her neighborhood, but she opposes any building on

public land. (Morris Dec., ¶10.)

        173.   Ms. Morris objects strongly to using or trading public land in order to

accommodate a particular religious expression, such as the Big Mountain statute. For

that reason, she contacted the Freedom From Religion Foundation asking how to put

pressure on Representative Rehberg in order to stop his land trade legislative proposal.

(Morris Dec., ¶11.)

        174.   Ms. Morris considers herself a spiritual, but not religious person, and not

“Christian.” She is a member of the Unitarian Universalist’s “Church of the Larger

Fellowship,” and she has close connections to the Billings and Missoula communities, as

well as her hometown of Great Falls and the rest of North Central Montana. (Morris Dec.,

¶12.)

        175.   Ms. Morris has made a conscious effort to avoid Big Mountain because of

the Jesus Statue, which she perceives as a Christian icon on public land that has the effect

of promoting one particular religious sect. (Morris Dec., ¶13.)

        176.   Freedom From Religion Foundation (“FFRF”), is a membership group

organized as an educational 501(c)(3) charitable non-profit that advocates for the

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separation of state and church, and educates on matters of non-theism. FFRF’s

membership consists primarily of persons who identify as freethinkers (atheist, agnostic,

or who are otherwise non-religious). (Gaylor Dec., ¶1.)

      177.   Annie Laurie Gaylor co-founded FFRF with her mother when she was a

college student in 1976. FFRF was incorporated in 1978 and then went national. Since

its beginning, FFRF has received complaints from atheists and agnostics around the

country who object to religious displays on government property as a violation of their

freedom of conscience. (Gaylor Dec., ¶2.)

      178.   FFRF has more than 19,000 members nationally, and more than 100 in

Montana, including members who reside in the City of Whitefish, the City of Kalispell

and the surrounding area of Flathead County, Montana. (Gaylor Dec., ¶3.)

      179.   FFRF represents its members when complaining about religious displays on

public-owned property. (Gaylor Dec., ¶4.)

      180.   FFRF received complaints about the Sacred Heart of Jesus Shrine (“Jesus

Shrine”) located in Flathead National Forest, prompting FFRF to write letters of

complaint. FFRF Staff Attorney Stephanie Schmitt first wrote a letter to the U.S. Forest

Service on May 26, 2011, making a Freedom of Information Act request on behalf of “a

concerned resident and taxpayer, and other Montana members of the Freedom From

Religion Foundation (‘FFRF’), who object to the erection and maintenance of a statue of

Jesus Christ on government property.” (Gaylor Dec., ¶5.)



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      181.   On Oct. 26, 2011, on behalf of FFRF’s national and Montana membership,

she sent a letter to Tim Tidwell, Office of the Chief, U.S. Forest Service, urging him to

“immediately overrule a misguided decision by Forest Supervisor Chip Weber” to take

public comments and reconsider its decision to remove the shrine. She noted this was a

longstanding First Amendment violation, that erecting a “shrine” constitutes an

impermissible religious purpose, that the Forest Service acknowledges preferential

treatment and constitutional concerns, that the public comment was “irrelevant,

inappropriate, divisive,” that the “war memorial” rationale “is a sham,” that the fence and

plaque violate the Special Use Permit, and that the Forest Service must uphold the

Constitution. (Gaylor Dec., ¶9 and Exh. 3.)

      182.   Ms. Gaylor is a co-founder of FFRF, and she has been an active part of

FFRF since its beginning, and she became co-president in 2004. She has personally

observed that the public reaction to requests to end Establishment Clause violations often

devolves into ad hominems, hostility and veiled or unveiled threats to FFRF and members

who are state/church separation advocates. (Gaylor Dec., ¶13.)

      183.   Attacks on FFRF since contacting the Forest Service about the Shrine have

often been framed in hostile and religious terms, not as mere disagreement over a

“historic” monument. (Gaylor Dec., ¶14.)

      184.   FFRF has received a number of vitriolic phone calls and messages in

response to FFRF’s request that the U.S. Forest Service decline to reissue a permit for the



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Jesus Shrine. These messages often treat the issue as a religious matter. (Gaylor Dec.,

¶15.)

        185.   Correspondence received by FFRF in October of 2011, which is when the

Shrine issue garnered substantial national media attention, demonstrates the hostility to

objectors. (Gaylor Dec., ¶16 and Exh. 4.)

        186.   The level of hostility prompted FFRF not to name individual Montana

members as plaintiffs in the Complaint, both because Ms. Gaylor felt they could still be

represented by FFRF in the suit and to protect local Montana membership from

harassment. (Gaylor Dec., ¶17.)

        187.   FFRF’s electronic database used during February 2012 was Filemaker Pro.

FFRF staff typically enter membership information in batches into Filemaker Pro. This

meant that the date a new record was created in the Filemaker Pro database was typically

after the date that a member actually joined FFRF. For this reason, the date of payment

determines the initial membership date. (Gaylor Dec., ¶18.)

        188.   Doug Bonham has been a member of FFRF since February 3, 2012. Mr.

Bonham’s physical membership card includes the date that a household membership for

Mr. Bonham and his daughter was paid, which was on February 3, 2012. (Gaylor Dec.,

¶19 and Exh. 5)

        189.   Pamela Morris has been a member of FFRF since February 3, 2012. Ms.

Morris’ physical membership card includes the date that an individual membership was

paid, which was on February 3, 2012. (Gaylor Dec., ¶20 and Exh. 6.)

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       190.   Since FFRF filed this federal lawsuit, it has continued to receive both

hostile phone calls and vitriolic e-mails, often claiming the United States is founded on a

deity or Christianity and calling FFRF and its membership “anti-American.” (Gaylor

Dec., ¶21.)

       191.   In Ms. Gaylor’s experience, working in various capacities as founder,

volunteer, board member, and staff member at FFRF for more than 35 years, many

persons who object to religious displays on government property are reluctant to come

forward for fear of alienation or retribution. (Gaylor Dec., ¶23.)

       192.   It has been Ms. Gaylor’s experience that, over the years, government

officials often ignore or may fail to keep or hold onto complete records of Establishment

Clause complaints. She has found this to be particularly the case regarding religious

displays that were erected on public property in the 1950s and 1960s. (Gaylor Dec., ¶24.)

       193.   A prime example occurred when a complaint that Ms. Gaylor, FFRF, its

members and others made over a religious display that evidently went unrecorded by

government officials, concerning the Ten Commandments monument on the Texas State

Capitol lawn. Madalyn Murray O’Hair, director of American Atheists, and Anne Nicol

Gaylor, then president of the Freedom From Religion Foundation, objected several times

to Texas governors since the 1970’s regarding this monument on state property. None of

these complaints apparently became a part of the court record in the case Van Orden v.

Perry, but reports on these complaints, from the Galveston Daily News and the Corpus



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Christi Times respectively, were published on November 16, 1977. (Gaylor Dec., ¶25

and Exhs. 8-9.)

      194.   Ms. Gaylor also wrote Texas Gov. Rick Perry a letter on Sept. 4, 2001,

prior to any commencement of action by Mr. Van Orden to challenge the decalogue at the

Texas State Capitol, asking Governor Perry to order the immediate removal of that

monument: “The State of Texas has no business dictating to its constituents which gods

they may have, how many gods they should have, or that they need to have any gods at

all!” (Gaylor Dec., ¶26 and Ex. 10.)

      195.   Ms. Gaylor’s 2001 letter of complaint was made on behalf of a Texas FFRF

member whose email correspondence notes that he too had written Gov. Perry (“no

reply”), Congressman Lamar Smith and Senators Wentworth and Ogden. The Texas

FFRF member emailed FFRF that “all replies I did receive expressed support for the

monument claiming tradition, America being based on godly principles, etc., etc.”

FFRF’s reply to its complainant also noted “FFRF has complained about this in the past.”

(Gaylor Dec., ¶27 and Exh. 11.)

      196.    Ms. Gaylor is not surprised that the U.S. Forest Service has not

provided/retained records of complaints over the Jesus Shrine. This is consistent with

how FFRF’s complaints have been treated in other situations. (Gaylor Dec., ¶28.)

      197.   Ms. Gaylor indicates that just as a display ridiculing the beliefs of Roman

Catholics on federal land would be offensive to practitioners of that religion, a Roman



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Catholic shrine to Jesus Christ on federal land is offensive to FFRF members who are

non-religious. (Gaylor Dec., ¶29.)

Dated this 19th day of February, 2013.                                              BOARDMAN & CLARK LLP


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                                                   Notice of Electronic Filing and Service

I hereby certify that on February 19, 2013, this corrected document was filed electronically in accordance with the
ECF procedures of the United States District Court, District of Montana, Missoula Division, under Rule 5(d)(1),
Federal Rules of Civil Procedure and L.R. 1.4(c). All parties who are represented and have consented to service of
electronically filed documents are served upon receipt of the NEF from the electronic filing system.

To the best of my knowledge, there are no parties in this case that require service by means other than electronic
service using the Court’s NEF. The original document on file with the filing party contains a valid original
signature.


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